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                    1 ROBERT W. FREEMAN
                      Nevada Bar No. 3062
                    2 CAYLA WITTY
                      Nevada Bar No. 12897
                    3 LEWIS BRISBOIS BISGAARD & SMITH LLP
                      6385 S. Rainbow Boulevard, Suite 600
                    4 Las Vegas, Nevada 89118
                      702.893.3383
                    5 FAX: 702.893.3789
                      Attorneys for Defendant Clark County
                    6

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                    8                                    UNITED STATES DISTRICT COURT

                    9                            DISTRICT OF NEVADA, SOUTHERN DIVISION

                   10                                                   ***

                   11 MONICA CONTRERAS, individually, and in              CASE NO. 2:13-cv-0591-JCM-PAL
                      her capacity as natural mother and guardian of,
                   12 and on behalf of ANDREA PATERNA, a
                      minor,
                   13                                                     DEFENDANT CLARK COUNTY’S
                                     Plaintiff,                           REPLY TO PLAINTIFF’S OPPOSITION
                   14                                                     TO CLARK COUNTY’S MOTION TO
                             vs.                                          DISMISS PLAINTIFFS’ FIRST
                   15                                                     AMENDED COMPLAINT
                      RONALD D. FOX; JAMES KENYON;
                   16 GREGORY BRYANT; PATRICIA
                      DONNIGER, CLARK COUNTY, NEVADA,
                   17 STATE OF NEVADA , ex rel, THE EIGHTH
                      JUDICIAL DISTRICT COURT, DOES 1-10;
                   18 and ROE ENTITIES11-20, inclusive

                   19                      Defendants.

                   20
                                 COMES NOW, Defendant Clark County, Nevada (“Clark County”) by and through its
                   21
                        attorneys of record, Robert W. Freeman, Esq., and Cayla Witty, Esq., from the law firm of Lewis,
                   22

                   23 Brisbois, Bisgaard, & Smith, and hereby submit the following Reply to Plaintiff’s Opposition to

                   24 Clark County’s Motion to Dismiss First Amended Complaint (#66).

                   25 / / /

                   26 / / /
                   27
                        ///
                   28
LEWIS
BRISBOIS
BISGAARD
& SMITH LLP             4830-8377-7816.1
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                    1            This Reply is made and based upon the following Memorandum of Points and Authorities,

                    2 the papers and pleadings on file herein, and any oral argument that the Court may entertain at the

                    3
                        hearing on Defendant’s Motion.
                    4
                                             MEMORANDUM OF POINTS AND AUTHORITIES
                    5
                        I.       SUMMARY OF ARGUMENTS
                    6
                                 Plaintiff Monica Contreras premises her entire argument for Clark County’s liability for
                    7
                        the actions of individual defendants’ alleged violations of her constitutional rights pursuant to 42
                    8
                        U.S.C. § 1983 (Fourth Claim for Relief), for negligent training/supervision/retention pursuant to
                    9

                   10 state tort law (Twelfth Claim for Relief), and for respondeat superior liability (Thirteenth Claim

                   11 for Relief) on the erroneous grounds that Clark County is the employer of individual Defendants

                   12 Fox, Kenyon, and Doninger. First, Plaintiff did not address the binding legal precedent that Clark

                   13
                        County as a municipal entity cannot be liable under the doctrine of respondeat superior. See Shaw
                   14
                        v. State of Cal. Dep’t of Alcoholic Bev. Control, 788 F.2d 600, 610 (9th Cir. 1986). Thus,
                   15
                        Plaintiff’s Thirteenth Claim for Relief should be dismissed with prejudice. As to the Fourth and
                   16

                   17 Twelfth Claims for Relief, Plaintiff’s allegations are legally insufficient to support a claim against

                   18 Clark County and the evidentiary support on which Plaintiff relies to attempt to place material

                   19 facts in controversy fail to identify Clark County as the employer of Defendants Fox, Kenyon, and

                   20 Doninger. Plaintiff ignores the paramount authority of the state judiciary in its employment of the

                   21
                        individual defendants. As such, it would be futile to allow amendment to the Complaint as
                   22
                        discovery, related legal decisions, and state law will not change the legal reality that Clark County
                   23
                        is not the employer of Defendants Fox, Kenyon, and Doninger.
                   24

                   25            With regard to the alleged Monell claims against Clark County for the actions of the

                   26 District Attorney and Child Protective Services (CPS), Plaintiff has failed to allege the necessary
                   27 elements of such a claim, specifically a policy under which Clark County could be liable for the

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                    1 actions of the District Attorney’s Office or CPS.           Furthermore, the actions of the District

                    2 Attorney’s Office and CPS were discretionary actions of individuals, that should be afforded

                    3
                        discretionary immunity, and thus there is no underlying actions to attach liability to Clark County.
                    4
                        III.     REPLY TO PLAINTIFF’S OPPOSITION
                    5
                                 A. Clark County is not the employer of Defendants Fox, Kenyon, and Doninger
                    6
                                 Clark County does not define the responsibilities or role of the individual defendants as
                    7
                        Court employees, and, thus, cannot be held liable for their actions. A simple review of the facts
                    8
                        and law as presented in the instant motion to dismiss shows this.
                    9
                                 "Determining whether a complaint states a plausible claim for relief will . . . be a context-
                   10
                        specific task that requires the reviewing court to draw on its judicial experience and common
                   11
                        sense." Ashcroft v. Iqbal, 556 U.S. 662, 129 S. Ct. 1937, 1949 (2009). Plaintiff points to Form 13
                   12
                        from the Federal Rules of Civil Procedure appendix, and FRCP 84 which states that the form’s
                   13
                        general allegation of employment is sufficient.        While this form relates to a very different
                   14
                        employment situation (Form 13 applies to claims of negligence under the Federal Employers’
                   15
                        Liability Act) and the Ninth Circuit has not addressed the sufficiency of the forms in the appendix
                   16
                        to the FRCP since Iqbal/Twombly, Plaintiff wholly mistakes the point. Plaintiff fails to address the
                   17
                        statutory directives that clearly state that the state judiciary, not the County, is the employer of
                   18
                        marshals and hearing masters.
                   19
                                 Plaintiff raised the separation of powers doctrine in an attempt to argue that Clark County
                   20
                        and the Eighth Judicial District Court (EJDC) offer overlapping or duplicative functions with
                   21
                        regard to the employment of Defendants Fox, Kenyon, and Doninger. Plaintiff conflates the
                   22
                        Memorandum of Understanding (MOU) between the EJDC and Clark County as overlapping or
                   23
                        duplicative functions. When this function is traced back to its basic source of power, the power to
                   24
                        implement personnel services comes from the EJDC, not Clark County.
                   25
                                 Plaintiff seems to misinterpret the application of the separation of powers doctrine as
                   26
                        applied in City of Sparks v. Sparks Municipal Court, 129 Nev. Adv. Op. No. 28, 302 P.3d 1118
                   27
                        (May 30, 2013) (hereinafter “Sparks”).         This doctrine further shows how Clark County’s
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                    1 entitlement to judgment at this early stage of litigation is clear.

                    2            Article 3, § 1 of the Nevada Constitution, reads,

                    3                      The Powers of the Government of the State of Nevada shall be
                                           divided into three separate departments, the Legislative, the
                    4                      Executive and the Judicial; and no persons charged with the exercise
                                           of powers properly belonging to one of these departments shall
                    5                      exercise any functions, appertaining to either of the others, except
                                           on the cases expressly directed or permitted in this constitution.
                    6
                        Thus, the Nevada Constitution provides for three separate, but co-equal, branches of government,
                    7
                        each branch having its own function and constitutional power. It is the role of the judiciary “to
                    8
                        hear and determine justiciable controversies and includes within its scope the inherent or
                    9
                        incidental authority to do that which is reasonably necessary to exercise the power conferred.”
                   10
                        Azbarea v. City of N. Las Vegas, 95 Nev. 109, 111, 590 P.2d 161 (1979). In line with this, the
                   11
                        judiciary performs ministerial functions to accomplish or put into effect the basic function of its
                   12
                        role in government. See Galloway v. Truesdell, 83 Nev. 13, 422 P.2d 237 (1967). In Galloway,
                   13
                        the Court explained the import and effect of each department’s inherent authority:
                   14
                                           Without the inherent powers of ministerial functions, each
                   15                      department . . . would be literally helpless. It is because of the
                                           inherent authority of ministerial functions that the three Departments
                   16                      are thus linked together and able to form a co-ordinated and
                                           interdependent system of government. . . .
                   17                      ...
                                           It is in the area of ministerial functions of each Department where
                   18                      there frequently occurs an overlapping or even duplication of
                                           functions. However, the overlapping is more apparent than real. . . .
                   19                      Such overlapping or duplication of effort or function can be entirely
                                           valid so long as each can logically and legitimately trace its efforts
                   20                      or functions back to, and it is derived from, its basic source of
                                           power.
                   21
                        Galloway, 83 Nev. at 21-22, 422 P.2d at 243.
                   22
                                 In Nevada, as elsewhere, the judicial branch of government possesses the inherent power
                   23
                        to administer its affairs. This power includes all incidental powers reasonable and necessary to
                   24
                        carry out its duties. See Goldberg v. Eighth Jud. Dist. Ct., 93 Nev. 614, 615-16, 572 P.2d 521,
                   25
                        522 (1977) (citing City of N. Las Vegas v. Daines, 92 Nev. 292, 294, 550 P.2d 399, 400 (1976);
                   26
                        Dunphy v. Sheehan, 92 Nev. 259, 549 P.2d 332 (1976); Sun Realty v. Dist. Ct., 91 Nev. 774, 542
                   27
                        P.2d 1072 (1975); Young v. Bd. of County Comm’rs, 92 Nev. 52, 530 P.2d 1203 (1975); State ex
                   28
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                    1 rel. Kitzmeyer v. Davis, 26 Nev. 373, 68 P. 689 (1902)).

                    2            The inherent powers of courts “are by their nature impracticable if not impossible of all-

                    3 inclusive enumeration.” State v. Moriwake, 647 P.2d 705, 712 (Hawaii 1982). However, they

                    4 surely include the authority necessary “to protect the dignity, independence and integrity of the

                    5 court and the judicial process.” People ex rel. N.R., 139 P.2d 371, 380 (Colo. 2006). Bailiffs,

                    6 marshals, and special masters perform functions that are necessary to protect the dignity,

                    7 independence and integrity of the court and the judicial process. To allow these court officers to

                    8 be employed by Clark County may violate the constitutional principle of separation of powers and

                    9 thus violate the constitution.

                   10            In the Sparks case mentioned above, the Nevada Supreme Court recently held that a city’s

                   11 imposition of its influence on court personnel decisions violates the separation of powers doctrine

                   12 found at Article 3, Section 1 of the Nevada Constitution. Sparks, supra, at 20-22. The Court was

                   13 asked to review the validity of a district court order enjoining the city from interfering in personnel

                   14 decisions, specifically the reduction of the salaries of its administrator and judicial assistant. Id.

                   15 When the court pushed back against the directive and the parties could not otherwise resolve their

                   16 differences, the court sought an injunction. Id. The Nevada Supreme Court upheld the injunction

                   17 finding that the court was likely to prevail on the merits of its claim that the City’s directive

                   18 violated the separation of powers doctrine. In its opinion, the Supreme Court discussed the

                   19 separation of powers doctrine as it applies to the judicial branch of government as outlined above

                   20 and then went on to directly address the management and control of court employees,

                   21                      [T]he Municipal Court’s express function is to decide controversies
                                           and enforce judgments. See Galloway, 83 Nev. at 539-40, 422 P.2d
                   22                      at 242. It would be impossible for the Municipal Court to exist and
                                           fulfill this role without employees to manage the docket, process
                   23                      paperwork, provide administrative assistance, and monitor
                                           compliance with its orders, among many other ministerial duties.
                   24                      [citation omitted] Furthermore, the Municipal Court must be able to
                                           exercise control over the employees who perform these tasks in
                   25                      order to ensure that the appropriate candidates are chosen for the
                                           jobs, the tasks are performed in a satisfactory manner, and proper
                   26                      sanctions and rewards are available when necessary. See State ex
                                           rel. Harvey v. Second Judicial Dist. Court, 117 Nev. 754, 770, 32
                   27                      P.3d 1263, 1273 (2001) (recognizing that the provisions of the
                                           Nevada Constitutional providing for an independent judiciary
                   28                      “would be seriously undermined if the judiciary were prohibited,
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                    1                       under any circumstance, from exercising direct control over the
                                            personnel who were performing vital and essential court functions”).
                    2
                        Id.
                    3
                                 In light of the Sparks decision, Clark County does not have the constitutional authority to
                    4
                        exercise any influence over court personnel like deputy marshals and hearing masters. This
                    5
                        decision flows from the statutory authority of the state judiciary over marshals and hearing
                    6
                        masters as presented in the motion to dismiss. Although Plaintiff Contreras chose to ignore Clark
                    7
                        County’s arguments, it is clear that the Nevada Revised Statutes govern the creation and
                    8
                        administration of the judicial system in Nevada, including appointment of bailiffs, deputy
                    9
                        marshals, and hearing masters.           Every aspect of the appointment, supervision, training, and
                   10
                        discipline of bailiffs, deputy marshals, and hearing masters is reserved to the judiciary by statute.
                   11
                        For example, the judges of the individual courts appoint their own marshals (NRS 3.310(1); NRS
                   12
                        4.353(1)). The appointed marshals serve “at the pleasure of the judges he or she serves”. (NRS
                   13
                        3.310(1); NRS 4.353(1)). The appointed marshals are directed to perform only court functions:
                   14
                        maintaining order, attending upon the jury, opening and closing court, and most importantly,
                   15
                        “other such duties as may be required” by judges. (NRS 3.310(3); NRS 4.353(3)). The appointed
                   16
                        marshals are required to provide a bond that is approved by the judges. (NRS 3.310(4); NRS
                   17
                        4.353(4)).         Apart from statutory duties, the appointed marshals cannot serve civil or criminal
                   18
                        process unless so ordered by a judge. (NRS 3.310(7); NRS 4.353(7)). In addition, the judiciary
                   19
                        reserves the right to determine their marshal’s salary, merit increases, and entitlement to overtime.
                   20
                                 The documents provided by Plaintiff with her Opposition do not controvert the EJDC’s
                   21
                        paramount authority over marshals and hearing masters.1 These documents are the work product
                   22
                        from the MOU that Clark County, the EJDC, and the marshals entered into for efficiently
                   23
                        processing personnel services. The MOU does not change the fact that the EJDC has paramount
                   24
                        authority over the employment situation.
                   25

                   26
                        1
                   27    In fact, Plaintiff failed completely to address the employment situation of Hearing Master Doninger. Without such,
                        her employment status as an EJDC employee alone is uncontroverted.
                   28
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                    1            Furthermore, this issue has also been addressed by the State of Nevada Local Government

                    2 Employee-Management Relations Board (EMRB). On January 27, 2014, the EMRB issued an

                    3 Order finding that the marshals were EJDC employees, based on the same facts and law as

                    4 outlined in this motion to dismiss. See Clark County’s Exhibit C, attached hereto. The EMRB

                    5 held that the EJDC’s control over the manner and method in which the marshals perform their

                    6 duties was determinative of their status as court employees, even while a local government was

                    7 responsible for payroll and other personnel services. See id., at 5.

                    8            Integral to both of Plaintiff Contreras’ claims is an underlying employment relationship

                    9 between Clark County and the individual Defendants that does not and cannot exist. This legal

                   10 situation cannot be changed. No amount of discovery or amendment of allegations will alter this

                   11 legal relationship in which the EJDC is the employer with paramount authority over marshals and

                   12 hearing masters.       Pursuant to the Nevada Constitution, Nevada statutes, and the contracts

                   13 governing the relationship of the County, Courts, and court employees, Clark County is not the

                   14 employer of Defendants Fox, Kenyon, or Doninger. Clark County cannot be liable for Plaintiff’s

                   15 alleged civil rights violation or for the negligent supervision, training or retention of the individual

                   16 Defendants and is entitled to judgment as a matter of law.

                   17            A. Plaintiffs fails to identify a policy or an official acting under any policy that could
                                    lead to liability for Clark County based on the actions of the District Attorney’s
                   18               Office or CPS.
                                 As laid out in the motion to dismiss, a Monell claim, i.e., the attachment of municipal
                   19
                        liability under § 1983 to a municipal entity, requires a policy decision that leads to a violation of a
                   20
                        plaintiff’s constitutional rights. Herb Hallman Chevrolet, Inc. v. Nash-Holmes, 169 F.3d 636, 644-
                   21
                        45 (9th Cir. 1999). Clark County, as a municipal entity, cannot therefore be liable “’unless action
                   22
                        pursuant to official municipal policy of some nature caused a constitutional tort.’” Id. (quoting
                   23
                        Pembaur v. City of Cincinnati, 475 U.S. 469, 477, 106 S. Ct. 1292, 1297 (1985) and Monell v.
                   24
                        New York City Dep't of Soc. Servs., 436 U.S. 658, 691, 98 S. Ct. 2018, 2036 (1978)).
                   25
                                 Plaintiff completely fails to allege a Monell claim for the actions of the District Attorney’s
                   26
                        office or CPS. First, Clark County cannot deny that the District Attorney’s office or CPS is a final
                   27
                        policy-maker capable of imputing liability to Clark County, because Plaintiff has failed to identify
                   28
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                    1 an official with that capability. Following that, Plaintiff fails to identify any decision based on a

                    2 specific policy at all on which liability would be founded. This pleading is utterly below the

                    3 standard for a plausible claim for relief.

                    4            Even accepting that the wrongs alleged by Plaintiff were actionable, Clark County cannot

                    5 be liable for the discretionary actions alleged by the District Attorney’s Office and CPS. In the

                    6 Nash-Holmes suit, the Court found that district attorneys that were alleged to have violated the

                    7 plaintiff’s rights did not in fact do so. Nash-Holmes, 169 F.3d at 645. Because no violation of the

                    8 plaintiff’s constitutional right could be found by the municipal official (there, the district attorney),

                    9 the Court held that the municipal entity was also not liable. Id.

                   10            The situation here is identical to the Nash-Holmes case. The actions of the District

                   11 Attorney’s Office and CPS are discretionary functions, entitled to immunity under the argument as

                   12 presented in the motion to dismiss. Even assuming that the alleged bad actors were final policy-

                   13 makers (a bare, unsupported legal conclusion in Plaintiff’s Complaint not entitled to belief), the

                   14 bad actors would be entitled to immunity and no liability would attach to Clark County.

                   15            The discretionary nature of the alleged constitutional violations by the District Attorney

                   16 and CPS will not be altered by amendment. It is the essence of those actions that no policy can

                   17 dictate the results. The choice to prosecute a citation or remove a child from a guardian is not a

                   18 clear directive from policy; it requires heavy personal deliberation and careful weighing of societal

                   19 concerns, for which these actors would be immune from suit. Clark County cannot be liable for

                   20 the discretionary acts within these County entities, and, thus, is entitled to dismissal with

                   21 prejudice.

                   22 IV.        CONCLUSION

                   23            Pursuant to the Nevada Constitution, Nevada statutes, and the Memorandum of

                   24 Understanding governing the relationship of Clark County, the EJDC, and court employees, Clark

                   25
                        County is not the employer of Defendants Fox, Kenyon, or Doninger. In this circumstance, Clark
                   26
                        County cannot be liable for Plaintiff alleged civil rights violation or for the negligent supervision,
                   27
                        training or retention of the individual Defendants and is entitled to judgment as a matter of law.
                   28
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BRISBOIS
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                    1 Likewise, the factual allegations against the District Attorney and CPS should be accorded

                    2 immunity as discretionary functions, leaving Clark County entitled to judgment as a matter of law.

                    3
                                 Plaintiff has failed to state a claim upon which relief may be granted. Defendant Clark
                    4
                        County is entitled to dismissal with prejudice of Plaintiff’s First Amended Complaint in its
                    5
                        entirety.
                    6
                                 DATED this 18th day of February, 2014.
                    7
                                                                    LEWIS BRISBOIS BISGAARD & SMITH LLP
                    8
                                                                     /s/ Cayla Witty
                    9
                                                                    ___________________________
                   10                                               Robert W. Freeman, Jr., Esq.
                                                                    Nevada Bar No. 3062
                   11                                               Cayla Witty, Esq.
                                                                    Nevada Bar No. 12897
                   12
                                                                    6385 S. Rainbow Blvd., Suite 600
                   13                                               Las Vegas, Nevada 89118
                                                                    Attorney for Defendant Clark County
                   14

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LEWIS
BRISBOIS
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                    1                                 CERTIFICATE OF SERVICE

                    2            I HEREBY CERTIFY that on the 18th day of February, 2014, I electronically filed

                    3 DEFENNDANT CLARK COUNTY’S REPLY TO PLAINTIFF’S OPPOSITION TO

                    4 CLARK COUNTY’S MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED

                    5 COMPLAINT with the Clerk of the Court through the Case Management/Electronic Filing

                    6 System.

                    7 Ross C. Goodman, Esq.
                      GOODMAN LAW GROUP
                    8 520 S. Fourth Street, 4th Floor
                      Las Vegas, Nevada 89101
                    9
                      ross@goodmanlawgroup.com
                   10 Attorneys for Plaintiffs
                      Monica Contreras and Andrea Paterna
                   11
                      Tracy A. Eglet, Esq.
                   12 EGLET WALL CRISTIANSEN
                      400 South Seventh Street
                   13
                      Box 1, Suite 400
                   14 Las Vegas, Nevada 89101
                      eservice@egletwall.com
                   15 Attorneys for Plaintiffs
                      Monica Contreras and Andrea Paterna
                   16
                      Eva Garcia-Mendoza, Esq.
                   17
                      GARCIA-MENDOZA & SNAVELY
                   18 501 South Seventh Street
                      Las Vegas, Nevada 89101
                   19 evagm@gms4law.com
                      Attorneys for Defendant Ronald D. Fox
                   20

                   21 Walt R. Cannon, Esq.
                      OLSON, CANNON, GORMELY, ANGULO & STOBERSKI
                   22 9950 W. Cheyenne Avenue
                      Las Vegas, Nevada 89129
                   23 wcannon@ocgas.com
                      Attorneys for Defendant Patricia Donniger
                   24

                   25 / / /

                   26 / / /
                   27 / / /

                   28
LEWIS
BRISBOIS
BISGAARD
& SMITH LLP
ATTORNEYS AT LAW        4830-8377-7816.1                            10
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                    1 Lyssa S. Anderson, Esq,
                      KAEMPFER CROWELL RENSHAW GRONAUER & FIRENTINO
                    2 8345 W. Sunset Road, Suite 250
                      Las Vegas, Nevada 89113
                    3
                      landerson@kcnvlaw.com
                    4 Attorneys for Defendant James Kenyon

                    5
                                                         /s/ Cayla Witty
                    6                                By___________________________________________
                                                       An Employee of
                    7
                                                            LEWIS BRISBOIS BISGAARD & SMITH LLP
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& SMITH LLP
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